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AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America

7 Case: 1:24-mj-00264
Christina Marie Praser-Fair ) Assigned to: Judge Upadhyaya, Moxila A.

) Assign Date: 8/21/2024

) Description: COMPLAINT W/ ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

frame of person to be arrested} Christina Marie Praser-Fair ;
who is accused of an offense or violation based on the following document filed with the court:

© Indictment O Superseding Indictment 0 Information O Superseding Information &% Complaint

© Probation Violation Petition 1 Supervised Relcase Violation Petition O Violation Notice Order of the Court

This offense is bricfly described as follows:

18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority;

18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds, ;

40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds, and;

40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building..

[Nt Yah

issuing officer's signature

Date: 08/21/202

City and state: Washineton. D.C. Moxila A.Upadhyaya, U.S. Magistrate Judge

Printed name and title

Return

This warrant was received on (date) S lala { , and the person was arrested on (date) t [ 2@ [: JOY
Columbia,SC

at (city and state) t

Date: are [r024, eee EE

Arresting officer's signature

Cenaciy Ett. Specib gtat CEL

Printed name art title

